  Case: 1:19-cv-01339 Document #: 261 Filed: 06/15/20 Page 1 of 4 PageID #:11011




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS


                                                          Case No. 19-cv-01339
 IN RE KRAFT HEINZ SECURITIES
 LITIGATION
                                                          The Honorable Robert M. Dow, Jr.


           UNCONTESTED AND AGREED-TO MOTION FOR LEAVE TO AMEND
               THE CONSOLIDATED CLASS ACTION COMPLAINT AND
                 TO MODIFY SUBSEQUENT BRIEFING DEADLINES

           Lead Plaintiffs Sjunde AP-Fonden (“AP7”) and Union Asset Management Holding AG

(“Union”) (collectively, “Lead Plaintiffs”), through their undersigned counsel, move this Court for

an Order granting Lead Plaintiffs’ uncontested and agreed-to motion for leave to amend the

Consolidated Class Action Complaint (the “Complaint”) and to modify subsequent briefing

deadlines.

           On January 6, 2020, Lead Plaintiffs filed the Consolidated Class Action Complaint [ECF

No. 179]. On March 6, 2020, Defendants in the above-captioned action filed their Motions to

Dismiss the Consolidated Class Complaint [ECF No. 215; 217].

           A related shareholder derivative action—captioned In re The Kraft Heinz Co. Derivative

Litigation, No. 2019-0587-AGB (Del. Ch.)—is currently pending in the Delaware Court of

Chancery. On February 7, 2020, one of the shareholder plaintiffs in that case filed a derivative

complaint that included numerous allegations describing, or otherwise based on, documents

Defendant The Kraft Heinz Company (“Kraft Heinz”) produced to that plaintiff in response to its

shareholder demand for inspection pursuant to 8 Del. C. § 220. Those allegations were redacted

in the publicly filed version of the derivative complaint pursuant to an agreement between the

parties.
  Case: 1:19-cv-01339 Document #: 261 Filed: 06/15/20 Page 2 of 4 PageID #:11012




         On April 17, 2020, a journalist filed a notice challenging Kraft Heinz’s confidentiality

designations and seeking, among other things, to unseal the derivative complaint. On May 15,

2020, Defendant Kraft Heinz filed a motion in the Delaware Court of Chancery for continued

confidential treatment of the derivative complaint. Along with its motion, Kraft Heinz filed a

proposed amended public version of the complaint that unredacted a number of the derivative

complaint’s previously sealed allegations.

         Lead Plaintiffs believe that the documents described by the newly unsealed derivative

complaint support their allegations and bear directly on Defendants’ pending motion to dismiss.

Accordingly, Lead Plaintiffs move for leave to amend the Complaint pursuant to Fed. R. Civ. P.

15(a).

         Lead Plaintiffs have conferred with counsel for Defendants Kraft Heinz, Bernardo Hees,

Paulo Basilio, David Knopf, Alexandre Behring, George Zoghbi, Rafael Oliveira, 3G Capital

Partners, 3G Capital, Inc., 3G Global Food Holdings, L.P., 3G Global Food Holdings GP LP, 3G

Capital Partners LP, 3G Capital Partners II LP, and 3G Capital Partners Ltd. (“Defendants”), and

Defendants do not oppose this motion, but advised Lead Plaintiffs of their position that dismissal

following Defendants’ renewed motion should be with prejudice, in light of the amendment

following Defendants’ initial motion to dismiss. Lead Plaintiffs advised Defendants that they

disagreed with Defendants’ position and informed Defendants of Lead Plaintiffs’ position that

Lead Plaintiffs are entitled to amend their pleading as a matter of course under Rule 15(a)(1)(B).

Further, the Parties have met and conferred and agreed upon the schedule set forth in the attached

Stipulation and [PROPOSED] Order regarding the First Amended Consolidated Class Action

Complaint and Modification of the Subsequent Briefing Deadlines submitted herewith.




                                                2
  Case: 1:19-cv-01339 Document #: 261 Filed: 06/15/20 Page 3 of 4 PageID #:11013




       Lead Plaintiffs respectfully request that this Court grant their motion for leave to amend

the Complaint and to so order the attached Stipulation and [PROPOSED] Order regarding the First

Amended Consolidated Class Action Complaint and Modification of the Subsequent Briefing

Deadlines.



 Dated: June 15, 2020                         Respectfully submitted,

                                              BERNSTEIN LITOWITZ BERGER &
                                                GROSSMANN LLP

                                              /s/ Salvatore J. Graziano

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                                               3
Case: 1:19-cv-01339 Document #: 261 Filed: 06/15/20 Page 4 of 4 PageID #:11014




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                                      4
